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Report on Campus Climate and Sexual
 Violence at Maryland Colleges and
            Universities
           MSAR #11669


                       September 2022

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                     University of Maryland College Park (UMD)

                                     Survey Administration

What survey instrument was used in the 2020-2022 cycle? How was it developed or
obtained?
The University of Maryland utilized the Student Environment and Experiences Survey (SEES)
for the 2020-2022 cycle. This instrument was developed by the Office of Civil Rights and Sexual
Misconduct (OCRSM) in conjunction with the Office of Planning and Evaluation at the
University of Maryland School of Public Health. The assessment is comprised of items adapted
from other campus climate surveys and measures developed specifically for UMD.

Who received the survey and how did the institution select those participants?
In April 2022, a random sample of 10,000 full-time undergraduate students between the ages of
18 and 25 were selected by the University Registrar’s office to receive a personalized email
invitation to complete the online survey containing a unique link. The survey was anonymous
because no linkage was made between the students email addresses and their responses. A
maximum of three email reminders were sent to students; once a student completed the survey,
they did not receive any additional reminders.

How did the institution conduct the survey?
Data were collected via online survey during a two-week interval in April 2022.

How was it administered and what was the rate of response among those who could have
responded (e.g., if you surveyed only undergraduates, how many [and what percentage of
undergraduates responded)?
The 10-minute survey was administered online via the Qualtrics® survey platform. A total of
2,100 students consented to participate and submitted a response. After accounting for bounced
emails and ineligible responses (i.e., the student was no longer full-time), the response rate was
21.1% (2,100/9,976).

What steps were taken to encourage responses from the surveyed population?
Modest compensation was offered to the first 3,000 participants to complete the survey, in the
form of a $10 credit redeemable at campus dining services. Promotional strategies included posts
on social media, such as Twitter, Instagram, and Facebook. During Sexual Assault Awareness
Month (SAAM) program activities, attendees were encouraged to complete the SEES. Each
Resident Assistant (RA) received promotional materials to post on their respective floors. Every
dining and convenience shop on campus posted promotional materials. Lastly, Maryland Today,
an online publication produced by the Office of Strategic Communications featured an article on
SEES to promote awareness and survey promotion.




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How does the respondent population compare to the general population on campus (e.g.,
race and ethnicity, gender, age, on-campus/off-campus residents)?

 Table 1. Comparison of demographic characteristics of the survey sample with
 aggregate data on undergraduates
                                                       SEES 2022              All Full-time
                                                         Sample             Undergraduates
 Gender
    Male                                                  40.0%                   50.4%
    Female                                                58.4%                   49.6%
    Transgender, Genderqueer, Nonbinary, or
                                                           1.6%                     --*
    another Gender Identity
 Race/ethnicity
    White, non-Hispanic                                   49.0%                   48.2%
    Asian, non-Hispanic                                   29.1%                   22.9%
    Black or African American, non-Hispanic                8.5%                   12.9%
    Hispanic/Latino                                        7.0%                   10.8%
    Two or More Races                                      4.9%                    5.2%
    Other                                                  1.5%                    0.2%
*The university does not collect official data on students identifying as transgender,
genderqueer, non-binary, or another gender identity.

What changes to the survey administration were made since the last survey cycle, if any?
The survey was shortened and, in collaboration with the LGBTQ+ Equity Center under the
Office of Diversity and Inclusion, revisions were made to the language throughout to make the
survey more inclusive.

                     Perceptions of Safety and General Campus Climate

How do respondents perceive the safety of the campus and the general campus climate?

General Campus Climate
Students were asked about the quality of their relationships with one another, administrators, and
faculty; overall, most students indicated the quality of these relationships were positive. The
proportion of students who rated relationships as positive was 79.1% (other students), 74.2%
(faculty members), and 59.1% (administrative personnel and offices).

Safety
Half of students (48.6%) agreed with the statement “UMD does enough to protect the safety of
students,” while 23.4% were undecided and 27.9% disagreed. When asked to respond to the
statement “Sexual assault is a problem at UMD,” 60.3% agreed, 10.9% disagreed, and 28.8%
were undecided.

Belonging
80.1% of students agreed with the statement, “I feel I am a part of this university,” which 14.7%
were undecided and 5.2% disagreed.




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How have these perceptions changed since the last survey administration?
Overall, these perceptions were stable since the last survey administration. The only significant
change was seen in response to the statement “Sexual assault is a problem at UMD.” In 2020,
38.9% agreed, while 43.5% were undecided and 10.9% disagreed. In 2022, the proportion who
agreed increased to 60.3%. The proportion who was undecided and disagreed declined to 28.8%
and 10.9%, respectively. Change in other campus climate and safety items was minimal (i.e., all
increased or decreased less than 2 percentage points).


           Perceptions of Institution’s Readiness and Ability to Address Issues of
                                        Sexual Assault

How do respondents perceive the institution’s readiness and ability to address issues of
sexual assault and sexual violence in such areas as:
   a. Training and education
       Students were asked questions about their exposure to information about sexual assault
       and their involvement with sexual assault prevention activities during the current
       academic year. 36.0% had attended a bystander workshop, and 19.8% had attended a
       presentation about sexual assault given to a student organization. Approximately one-
       quarter of students (22.7%) had attended a presentation about sexual assault, dating
       violence, or stalking. About one-third (31.7%) had discussions about sexual assault in
       class. The majority of students had seen posters about sexual assault (66.2%), and 26.7%
       had visited a UMD website with sexual assault information and 27.3% had read a report
       about sexual violence rates at UMD. In terms of content, how to report sexual assault was
       most common type of information received at UMD (53.6% of students), followed by the
       definition of sexual assault (49.0%) and where to get help if someone you know is
       sexually assaulted (49.0%). Thirty percent (30.7%) of students reported that they had
       received information about Title IX protections. Approximately one-third of students
       (31.6%) had not received any information about sexual assault from UMD during the
       current academic year.

   b. Support for persons reporting sexual assault and other sexual misconduct
      The majority of students said that UMD would maintain the privacy of the person making
      a sexual assault report (72.7%) and would offer resources to the person making the report
      (72.7%). Approximately half (52.5%) said it was likely that UMD would support a
      student who was making a sexual assault report; 14.4% said it was unlikely, while 33.0%
      were undecided/didn’t know.

   c. The administrators responsible for investigating misconduct
      About half of students believed that UMD would take a sexual assault report serious
      (53.6%), while slightly fewer said UMD would likely handle the report fairly (42.2%)
      and would conduct a fair, prompt, and impartial investigation into the report (39.7%). A
      similar proportion agreed that the University of Maryland Police Department (UMPD)
      takes student crime reports seriously (41.6%), and 28.2% agreed that UMPD responds




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       effectively to sexual assault. Approximately one-quarter to one-third of students were
       undecided for these items.

How have these perceptions changed since the last survey administration?
The percent of students who attended a presentation about bystander intervention decreased
slightly, from 44.1% in 2020 to 36.0%. Attending other types of presentations (e.g., attending a
presentation about sexual assault, dating violence, or stalking) remained stable from 2020 to
2022. The proportion who saw posters about sexual assault or discussed sexual assault in class
was also unchanged. In 2022, 27.3% reported reading a report about sexual assault at UMD,
compared to 18.6% in 2020.

Perceptions of the university’s response to reports of sexual assault were slightly less positive in
2022 than 2020. For example, decreases were seen in the percent of students who believed that
UMD would conduct a fair, prompt, and impartial investigation (48.4% to 41.6%), that UMD
would handle the report fairly (53.6% to 42.2%), and that UMD would take the report seriously
(63.9% to 53.6%). Similar decreases were seen for the UMPD’s responses. In 2022, 28.2%
agreed that UMPD responds effectively to sexual assault, compared with 37.3% in 2020.

                             Institutional Analysis and Action Steps

What relationship do you see between the changes in the incident data over the past three
cycles and the trends you are finding in the survey data?

Definitive conclusions are difficult to make given the historical timeframe in question due to the
pandemic (2020-2022), unknown incident types to classify as SAI or SAII, and the complete
overhaul of institutional policy and procedures per the 2020 Title IX Regulations. What is
statistically significant is that there was decrease in the number of reported ‘Other Sexual
Misconduct’ incident types over the past three reporting cycles, but any meaningful trends have
remained stable.

What have been the results of changes implemented since the last survey cycle?

Instituting major changes to sexual misconduct prevention had been affected by the pandemic;
however, UMD staff swiftly transitioned to the creation of online programming with the
inclusion of community partners such as the House of Ruth and the Maryland Coalition Against
Sexual Assault (MCASA).

In November 2021 the Sexual Assault Prevention Committee (SAPC) launched an optional
second year online training through EVERFI.

The Office of Civil Rights and Sexual Misconduct (OCRSM) initiated a collaborative
relationship with the national One Love Foundation in Fall 2020 to enhance prevention
programming on campus which subsequently lead to an introduction to the founding members of
UMD One Love Club. One Love’s mission is achieved via interactive, conversation-based
workshops that provide vocabulary to deconstruct real-life scenarios and encourage participants
to reflect on and implement healthy relationship behaviors in their everyday lives.




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Presently, OCRSM serves in an advisory capacity to UMD One Love Club where there is
partnership on the delivery of workshops to build awareness around healthy and unhealthy
relationships. Both entities serve to build a culture changing program to engage in sustainable
prevention efforts on campus.

What activities, services, programs, or other results have arisen from what was learned
from the survey results?

The University is involved in a number of activities with regards to sexual misconduct
preventive programming. What follows is a snapshot of the prevention programs offered at
UMD.

Sexual Assault Prevention Committee (SAPC)
The University of Maryland is in a continuous process to link the survey results to more targeted
intervention approaches. The Sexual Assault Prevention Committee (SAPC) is tasked with
instituting a data-driven approach for the coordination of the University’s prevention plan. SAPC
members comprise members representing Campus Advocates Respond and Educate to Stop
Violence (CARE), Athletics, Resident Life, Office of Civil Rights and Sexual Misconduct
(OCRSM), Department of Fraternity and Sorority Life (DFSL), Office of Postdoctoral Affairs
(Graduate School), Office of Faculty Affair (Provost’s Office), Student Orientation and
Transition, Strategic Communications, Resident Life, College of Education, School of Public
Health, College of Computer, Mathematical, and Natural Sciences, Title IX Advisory Board
(TIXAB), and Preventing Sexual Assault (PSA). SAPC launched the Student Leader Summit
Pilot in Fall 2021. The pilot covered bystander intervention, responding to a disclosure, referral
to resources, Stages of Change, and ways to facilitate conversations around the topic of power-
based violence prevention.

Raise Your Voice
Raise Your Voice (RYV) is a University wide sexual assault prevention and awareness
campaign. Raising your voice shows that you value respect and healthy relationships for
yourself, your fellow Terps, and others in all aspects of life. The entire campus community is
encouraged to make a personal commitment to help prevent sexual assault and sexual
misconduct and be a part of the solution. In March 2022, SAPC successfully relaunched the
RYV campaign (as a result of low activity during the pandemic) to re-emphasize consistent
messaging and ensure all members are of the campus community are informed of expectations
and resources.

Raise Your Voice events included in 2019-2021:Your Voice Matters Trivia, Sexual Assault
Awareness Month (SAAM) Programming-including Restorative Yoga, Charcuterie Board
Design Class, and a Virtual Panel on Sexual Assault Prevention.

In 2021-2022, for Domestic Violence Awareness Month (DVAM) CARE Outreach and SAPC
hosted CARE to Stop Violence’s Annual Purple Lights Night and for SAAM: SAPC partnered
with RecWell to host Raise Your Voice: Sunset Yoga.




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Department of Fraternity and Sorority Life (DFSL)
DFSL has several initiatives and sustained actions to help raise awareness, increase education,
and promote the prevention of power-based violence, including:
   • Each semester, between 10-15 chapters participate in the Ten Terp Plan (TTP) for Sexual
       Assault Prevention (SAP) program. Participants from each chapter meet weekly for eight
       weeks with a trained facilitator. The purpose of the TTP/SAP is to raise awareness
       around the issue of sexual assault and power-based violence within a specific fraternity or
       sorority. Topics include:
           o Bystander intervention;
           o Rape culture and rape myths;
           o Healthy/unhealthy behaviors within relationships;
           o Sexual objectification, hyper-masculinity and hyper-femininity;
           o The effect of sexual assault on survivors and connecting survivors to resources.
   • All recognized fraternities and sororities are required to host a sexual assault prevention
       program each year. Chapters submit an online evaluation of the program that is then
       approved by a member of our staff. In 2020-2021, 94% of chapters completed this
       requirement, with an estimated attendance of more than 3,200 students. Chapters not
       completing this expectation were placed on probationary recognition and received
       additional sanctions for the upcoming year.
   • Chapters wishing to participate in Homecoming and Spring Fest are required to host
       matchup meetings to discuss sexual assault prevention and bystander intervention (75%
       of each chapter must attend).
   • Each chapter is required to have a Chapter Liaison, who receives a 2-hour training on
       rape culture, power-based violence, bystander intervention, ways to appropriately
       respond to victim disclosure, and campus resources.
   • DFSL has employed a graduate assistant (50% FTE) since 2008 who coordinates sexual
       assault prevention efforts within fraternity and sorority life.
           o The graduate assistant supervises two to four interns each semester who are
               tasked with creating new or improving existing sexual violence prevention
               programming. Previously this has included redesigning the DFSL SAP website,
               creating shareable social media posts for chapters to utilize, and creating
               presentations or activities for fraternity and sorority students.
           o The graduate assistant and interns present individual chapter workshops as
               requested, as well as facilitating continued training for Chapter Liaisons.
           o Staff and SAP Interns have assisted campus partners and student organizations in
               implementation of their events, including CARE's Clothesline Project, Safe
               Spring Break in collaboration with the University Health Center, and hosting
               panels during Preventing Sexual Assault (PSA) Occupy McKeldin.

Counseling Center
All students, including sexual assault survivors are welcome to access any of the Counseling
Center’s confidential mental health resources. These resources include urgent same day
appointments with counselors and a 24/7 hotline after hours. Counselors meet with survivors to
share additional resources on/off campus and evaluate their mental health needs to
collaboratively determine and support their next steps. The Counseling Center has a specific
therapy group (i.e., Hope and Healing) for women-identified sexual assault survivors.




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Campus Advocates Respond and Educate to Stop Violence (CARE)
Ongoing Training & Education Offerings from CARE:

      • CARE Peers and Staff provide training to students, staff, and faculty. Trainings include:
            o CARE 101 Presentation: An overview of the CARE to Stop Violence Office and
                 the Advocacy, Education and Outreach services offered to all Students, Faculty
                 and Staff.
             o The C Word is Consent Workshop: This workshop uses discussion and
                 exploration to deconstruct common rape myths, define consent, coercion, and
                 victim-blaming.
             o Don’t Turn Red Flags Pink Workshop: Audience members of this interactive
                 workshop learn to define relationship violence, identify elements of power and
                 control, and understand the cycle of violence.
             o Step UP! Workshop: Step UP! is an interactive workshop on bystander
                 intervention; during this hour-long workshop participants learn to evaluate
                 challenging situations and determine how to safely intervene using one of the
                 3D’s (Direct, Distract, and Delegate).
      • CARE annually hosts events such as Purple Lights Night, The Clothesline Project, and
         Take Back the Night as well as other programs such as CARE in Conversation and
         training as a Violence Intervention Ambassador throughout the school year.

Office of Civil Rights & Sexual Misconduct (OCRSM)
The Office of Civil Rights & Sexual Misconduct (OCRSM) is a significant resource for the
campus community at the University of Maryland. OCRSM is tasked with implementing and
overseeing the University’s compliance with, and enforcement of, the civil rights scheme of the
United States as it applies to the University through the University of Maryland Policy and
Procedures on Sexual Harassment and Other Sexual Misconduct. OCRSM offers training and
other programs to enhance awareness of their reporting, rights and responsibilities, resources,
and options for resolution. OCRSM develops and implements campus wide civil rights
compliance training. In partnership with UM One Love, workshops were offered to student
groups, committees, and departments. Topics included 10 signs of healthy and unhealthy
relationships, Masculinity and Consent, Navigating Personal and Platonic Relationships using
the 10 signs. UM One Love workshops were made available by request via the OCRSM website.

What actions will the institution most likely take on the basis of the survey results?

The University is seeking both federal and private opportunities to increase dedicated personnel
and a coordinated response in building a successful comprehensive sexual assault prevention
plan. The Sexual Assault Prevention Committee (SAPC) will be developing the programming
curriculum for third year and fourth year undergraduate student online training. Per the last
survey cycle, each School and College developed College Action Plans to raise awareness about
sexual misconduct prevention resources, reporting options, and reporting obligations of faculty
and staff. A College Action Plan toolkit will be distributed to each college and school in
coordination with Faculty Liaisons for full implementation.




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We are exploring the possibility that the School of Public Health assist OCRSM with analyses of
the incident report data for 2020-2022.

                 Prevalence of Sexual Assault and Other Sexual Misconduct

What are the rates of prevalence of sexual assault and other sexual misconduct found from
the survey data?
The prevalence of sexual assault is reported in Table 3. Non-consensual sexual intercourse or
rape since coming to UMD was reported by 6.5% of students. The prevalence was higher among
females (8.5%) and students identifying as another gender (12.9%) than males (3.3%).
Experiencing other types of sexual assault, such as non-consensual sexual contact, touching, or
attempted rape, was more common, with a prevalence of 15.1%. Again, the prevalence was
higher among females (20.7%) than males (6.1%) and was also elevated among students who
identified as transgender, genderqueer, or another gender (38.7%).

Overall, the prevalence of experiencing any form of sexual assault was 16.5%: 22.2% among
females, 38.7% among students who identified as genderqueer or another gender, and 7.3%
among males.

 Table 3. Prevalence of Sexual Assault
                                                                       % of SEES 2022 Sample
 Sexual assault of any type
    Yes                                                                          16.5%
    No                                                                           79.7%
    Prefer not to say                                                             3.8%
 Non-consensual sexual intercourse or rape
    Yes                                                                           6.5%
    No                                                                           90.0%
    Prefer not to say                                                             3.5%
 Non-consensual sexual contact, touching, or attempted rape
    Yes                                                                          15.1%
    No                                                                           81.8%
    Prefer not to say                                                             3.1%

Additionally, 11.7% of students had experienced sexual harassment since coming to UMD, and
6.8% had been in a relationship that was controlling or abusive. Both sexual harassment and
relationship violence were more common among females and students who identified as
transgender, genderqueer, or another gender than among males.

How do these rates compare to the incident data collected and reported in the cycle?
The survey data reveal stable trends from 2018 to 2022 with respect to who a student told about a
sexual assault they experienced. However, incident data shows there was a decrease in the
number of reported Other Sexual Misconduct types and an increase in Sexual Assault I and II
incident types. The reasons for these differences are unclear. Further for several months during
this reporting cycle, students were immersed in online learning and direct correlations between
survey and incident data cannot be ascertained.




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Of those data collected from the survey, what are the rates of those who choose to report to
the institution and those who choose not to? Of those who choose not to, what are the
primary reasons given for not reporting the incident?
Among those who experienced a sexual assault, 7.8% reported the assault to our Title IX office,
a confidential resource provider on campus, or another person in a position of authority at UMD.
Telling friends (74.1%) and roommates (26.7%) about the assault was more common, and 18.0%
chose not to tell anyone. Reasons for not reporting are provided in Table 4 below. The most
common reasons given were related to worrying about others’ reaction (e.g., worrying they
wouldn’t think it was serious or important) and wanting to keep it private. Not knowing the
reporting procedure on campus (8.7%), not thinking the school would do anything about the
report (10.9%), and not thinking campus leadership would not solve problems (15.2%) were not
widely cited as a reason.

 Table 4. Reasons for telling anyone about a sexual assault
                                                                       % of students who didn’t
                                                                        tell anyone about the
                                                                                assault
 Didn’t think others would think it was serious/important/would
                                                                                65.2%
 understand
 Is a private matter/wanted to deal with it on own                              47.8%
 Ashamed or embarrassed                                                         37.0%
 Didn’t think what happened was serious enough to talk about                    34.8%
 Wanted to forget it happened                                                   34.8%
 Didn’t want others to worry about me                                           34.8%
 Didn’t have time to deal with it due to academics, work, etc.                  32.6%
 I thought nothing would be done                                                32.6%
 Fear of not being believed                                                     23.9%
 I thought I would be blamed for what happened                                  19.6%
 Had other things I needed to focus on and was concerned about
                                                                                15.2%
 (classes, work)
 I did not feel the campus leadership would solve my problems                   15.2%
 Fear of retribution from the person who did it                                 10.9%
 Didn’t think the school would do anything about my report                      10.9%
 Didn’t know reporting procedure on campus                                       8.7%
 Didn’t want the person who did it to get in trouble                             8.7%
 Concerned others would find out                                                 8.7%
 Feared I or another would be punished for infractions or violations
                                                                                 8.7%
 such as underage drinking
 I feared others would harass me or react negatively toward me                   6.5%
 Would feel like an admission of failure                                         2.2%
 Thought people would try to tell me what to do                                  2.2%




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